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     Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     BRANDON McMURRIAN
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,    )         No. 2:12-CR-442 LKK
                                  )
13                 Plaintiff,     )        STIPULATION AND ORDER TO CONTINUE
                                  )        STATUS CONFERENCE AND EXCLUDE
14           v.                   )        TIME
                                  )
15   BRANDON McMURRIAN and        )
     JOEL MURDOCH,                )        DATE: August 20, 2013
16                                )        TIME: 9:15 a.m.
                   Defendants.    )        JUDGE: Hon. Lawrence K. Karlton
17                                )
     ____________________________ )
18
19     It is hereby stipulated and agreed to between the United States of
20   America through SAMUEL WONG, Assistant U.S. Attorney; defendant BRANDON
21   McMURRIAN by and through his counsel, BENJAMIN GALLOWAY, Assistant
22   Federal Defender; and defendant, JOEL MURDOCH, by and through his
23   counsel, DONALD DORFMAN, that the status conference set for June 18,
24   2013 be continued to August 20, 2013 at 9:15 a.m.
25     The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendant, to examine
27   possible defenses and to continue investigating the facts of the case.
28   / / /
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 1     The parties stipulate that the Court shall find the ends of justice
 2   served by the granting of such continuance outweigh the best interests
 3   of the public and the defendants in a speedy trial.
 4      The parties stipulate that time within which the trial of this case
 5   must be commenced under the Speedy Trial Act shall be excluded from
 6   computation of time beginning from the date of this stipulation, June
 7   13, 2013, through and including the date of the status conference set
 8   for August 20, 2013, pursuant to 18 U.S.C. § 3161 (h)(7)(A) and
 9   (B)(iv) and Local Code T4 both pertaining to reasonable time for
10   defense counsel to prepare.
11
     DATED: June 13, 2013                 Respectfully submitted,
12
                                          HEATHER E. WILLIAMS
13                                        Federal Defender
14                                        /s/ Benjamin Galloway
                                          BENJAMIN GALLOWAY
15                                        Assistant Federal Defender
                                          Attorney for Defendant
16                                        BRANDON McMURRIAN
17
                                          /s/ Donald Dorfman
18                                        DONALD DORFMAN
                                          Attorney for Defendant
19                                        JOEL MURDOCH
20
     DATED: June 13, 2013                 BENJAMIN B. WAGNER
21                                        United States Attorney
22                                        /s/ Benjamin Galloway for
                                          SAMUEL WONG
23                                        Assistant U.S. Attorney
                                          Attorney for Plaintiff
24
25
                                    O R D E R
26
        The Court, having received, read, and considered the stipulation of
27
     the parties, and good cause appearing therefrom, adopts the stipulation
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     of the parties in its entirety as its order.        The Court specifically

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 1   finds that the failure to grant a continuance in this case would deny
 2   defense counsel reasonable time necessary for effective preparation,

 3   taking into account the exercise of due diligence.            The Court finds

 4   that the ends of justice to be served by granting the requested

 5   continuance outweigh the best interests of the public and defendants in

 6   a speedy trial.

 7      The Court orders that the time from the date of the parties

 8   stipulation, June 13, 2013, up to and including August 20, 2013, shall

 9   be excluded from computation of time within which the trial of this

10   case must be commenced under the Speedy Trial Act, pursuant to 18

11   U.S.C. § 3161(h)(7)(A) and(B)(iv) and Local Code T4 both pertaining to
     reasonable time for defense counsel to prepare.           It is further ordered
12
     that the June 18, 2013 status conference shall be continued to August
13
     20, 2013, at 9:15 a.m.
14
15   DATED:    June 14, 2013
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